Case 20-71618-wlh      Doc 23     Filed 01/11/21 Entered 01/11/21 09:34:06            Desc Main
                                  Document      Page 1 of 4




  IT IS ORDERED as set forth below:



  Date: January 11, 2021
                                            _____________________________________
                                                       Wendy L. Hagenau
                                                  U.S. Bankruptcy Court Judge

_______________________________________________________________




                            UNITED STATES BANKRUPTCY
                           COURT NORTHERN DISTRICT OF
                            GEORIGA ATLANTA DIVISION

      In Re:                                        )      CASE NO. 20-71618
                                                   )
      Kevin Lamar Terrell &                        )       CHAPTER 7
      Tamarion Sherrie Terrell,
                                                    )      Judge Wendy L. Hagenau
      Debtor

                                ORDER ON MOTION
                          TO VACATE ORDER OF DISMISSAL

          The Debtors’ Motion to Vacate Order Of Dismissal (the “Motion”) [Docket No.

   22] came before the Court on January 7, 2021 at 10:30 AM in Courtroom 1403. Debtors’

   attorney was present. There was no parties of interest that appeared in opposition of the

   Motion, nor was there any opposition filed in Debtor’s case. Therefore, for good cause

   shown and it appearing the Trustee has no opposition thereto;

          IT IS SO ORDERED THAT the Order of Dismissal dated December 3, 2020 is

   vacated, that the Debtor's Chapter 7 case is hereby reopened for the purpose of

   continuing until discharged.
Case 20-71618-wlh      Doc 23    Filed 01/11/21 Entered 01/11/21 09:34:06   Desc Main
                                 Document      Page 2 of 4




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 Prepared and Presented by:


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All parties listed on Mailing Matrix
Case 20-71618-wlh   Doc 23   Filed 01/11/21 Entered 01/11/21 09:34:06   Desc Main
                             Document      Page 3 of 4
Case 20-71618-wlh   Doc 23   Filed 01/11/21 Entered 01/11/21 09:34:06   Desc Main
                             Document      Page 4 of 4
